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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:22-mc-20707-JEM/Becerra

  FARHAD AZIMA,

                 Applicant,

  v.

  INSIGHT ANALYSIS AND RESEARCH
  LLC and SDC-GADOT,

              Respondents.
  __________________________________________/

                                        OMNIBUS ORDER 1

         THIS CAUSE came before the Court on Respondents Insight Analysis and Research, LLC

  (“Insight”) and SDC-Gadot, LLC’s (“Gadot”) (collectively, the “Respondents”) Motion for

  Extension of Time to Comply with Court Order (the “Motion for Extension”), ECF No. [25], and

  Respondents’ Motion for Protective Order (the “Motion for Protective Order”), ECF No. [26]. The

  undersigned previously held a hearing on June 6, 2022, on Non-Party’s Motion to Quash Subpoena

  and Service of Subpoena, and Motion for Protective Order (the “Motion to Quash”), ECF No. [7],

  and Petitioner’s Cross Motion to Compel Document Production and Rule 30(b)(6) Deposition

  Testimony from Respondents (the “Cross Motion to Compel”), ECF No. [14]. ECF No. [20].

  Following that hearing, the Court entered an Order on June 8, 2022, ordering, among other things,

  that Respondents provide corporate representative(s) to appear for a deposition on Wednesday,

  June 15, 2022 (For Insight, at 10:00 a.m., and for Gadot, at 2:00 p.m.). ECF No. [21]. The Court

  also advised that Respondents’ failure to attend the deposition could result in sanctions under Rule


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    The Honorable Jose E. Martinez, United States District Judge, referred this matter to the
  undersigned. ECF No. [8].

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  37 of the Federal Rules of Civil Procedure. Id. Upon due consideration and for the reasons

  discussed below, the Motions are hereby DENIED.

          Petitioner filed his Application for Order to Take Discovery Pursuant to 28 U.S.C. § 1782

  on March 8, 2022. ECF No. [1]. On March 10, 2022, the Court entered an Order Granting

  Application for Order Pursuant to 28 U.S.C. § 1782(a). ECF No. [5]. Mr. Salivar, who filed the

  two instant Motions, entered a limited appearance of counsel on behalf of Non-Party Amit Forlit

  over one month ago, on May 6, 2022. ECF No. [9]. Mr. Salivar also appeared as Non-Party

  counsel at the June 6, 2022 hearing. ECF No. [20].

          As stated by the Court at the hearing, the Rule 30(b)(6) deposition notices had been

  properly served on Respondents such that Respondents had notice of the deposition scheduled for

  Insight on May 2, 2022 and for Gadot on May 3, 2022. As stated at the hearing and memorialized

  by Order, the Court re-set the depositions for June 15, 2022, and explicitly advised of potential

  penalties should Respondents fails to appear for those depositions as set by the Court. Mr. Salivar

  filed a Notice of Appearance on behalf of Respondents on June 9, 2022. ECF No. [22].

          Notwithstanding the Court’s clear directive concerning possible sanctions for failure to

  comply with the Order, Respondents, less than twenty-four hours before the first deposition is set

  to begin, filed the Motion for Extension and Motion for Protective Order. Their counsel, who was

  present during the Court’s hearing, filed a notice of appearance five days ago. This requested relief

  must be rejected as nothing more than a last-minute effort to thwart the judicial process.

  Accordingly, in consideration of the foregoing and being otherwise fully advised in the premises,

  the Motion for Extension, ECF No. [25], is hereby DENIED. If the parties can agree to another

  date then they are free to do so, but an extension of thirty days will not be given without agreement

  of the parties.



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            Likewise, the Motion for Protective Order, ECF No. [26], is hereby DENIED. The parties

  are ordered to consult the undersigned’s Discovery Procedures, 2 which govern Rule 30(b)(6)

  depositions. Had Respondents filed their motion even a day earlier, the Court could have convened

  a hearing to determine what relief, if any, might be appropriate. Instead, Respondents seek relief

  at the very last minute on an issue that they have had full notice of for weeks.

            DONE AND SUBMITTED in Chambers at Miami, Florida, on June 14, 2022.



                                                        _________________________
                                                        JACQUELINE BECERRA
                                                        United States Magistrate Judge




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      Available at: https://www.flsd.uscourts.gov/sites/flsd/files/JudgeBecerraDiscoveryProceduresMay2022.pdf.

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